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     Natin Paul, individually, and as Trustee of the
   7 Natin Paul Management Trust Dated February 29, 2012

   8
                          UNITED STATES DISTRICT COURT
   9
                        CENTRAL DISTRICT OF CALIFORNIA
  10                              WESTERN DIVISION

  11

  12 HAR-CMBS I, LLC,                          CASE NO. 2:22-cv-02104-FLA-KS

  13              Plaintiff,                   STIPULATED PROTECTIVE
            vs.                                ORDER
  14
     NATIN PAUL; and NATIN PAUL AS
  15 TRUSTEE OF THE NATIN PAUL
     MANAGEMENT TRUST DATED
  16 FEBRUARY 29, 2012;

  17
                  Defendants.
  18

  19

  20

  21

  22
                                STIPULATED PROTECTIVE ORDER
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   1        1.     A. PURPOSES AND LIMITATIONS

   2        Discovery in this action is likely to involve production of confidential,

   3 proprietary, or private information for which special protection from public

   4 disclosure and from use for any purpose other than prosecuting this litigation may

   5 be warranted. Accordingly, the parties hereby stipulate to and petition the Court to

   6 enter the following Stipulated Protective Order. The parties acknowledge that this

   7 Order does not confer blanket protections on all disclosures or responses to

   8 discovery and that the protection it affords from public disclosure and use extends

   9 only to the limited information or items that are entitled to confidential treatment

  10 under the applicable legal principles. The parties further acknowledge, as set forth

  11 in Section 12.3, below, that this Stipulated Protective Order does not entitle them

  12 to file confidential information under seal; Civil Local Rule 79-5 sets forth the

  13 procedures that must be followed and the standards that will be applied when a

  14 party seeks permission from the court to file material under seal.

  15               B. GOOD CAUSE STATEMENT

  16        This action is likely to involve commercial, financial, technical and/or

  17 proprietary information for which special protection from public disclosure and

  18 from use for any purpose other than prosecution of this action is warranted. Such

  19 confidential and proprietary materials and information consist of, among other

  20 things, confidential business or financial information, information regarding

  21 confidential business practices, or other confidential research, development, or

  22                                           2
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   1 commercial information (including information implicating privacy rights of third

   2 parties), information otherwise generally unavailable to the public, or which may

   3 be privileged or otherwise protected from disclosure under state or federal statutes,

   4 court rules, case decisions, or common law. Accordingly, to expedite the flow of

   5 information, to facilitate the prompt resolution of disputes over confidentiality of

   6 discovery materials, to adequately protect information the parties are entitled to

   7 keep confidential, to ensure that the parties are permitted reasonable necessary uses

   8 of such material in preparation for and in the conduct of trial, to address their

   9 handling at the end of the litigation, and serve the ends of justice, a protective order

  10 for such information is justified in this matter. It is the intent of the parties that

  11 information will not be designated as confidential for tactical reasons and that

  12 nothing be so designated without a good faith belief that it has been maintained in

  13 a confidential, non-public manner, and there is good cause why it should not be

  14 part of the public record of this case.

  15        2.      DEFINITIONS

  16             2.1 Action: HAR-CMBS I, LLC v. Natin Paul and Natin Paul as Trustee

  17 of the Natin Paul Management Trust Dated February 29, 2012, Case No. 2:22-cv-

  18 02104-FLA-KS.

  19             2.2 Challenging Party: a Party or Non-Party that challenges the

  20 designation of information or items under this Order.

  21             2.3 “CONFIDENTIAL” Information or Items: information (regardless of

  22                                            3
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   1 how it is generated, stored or maintained) or tangible things that qualify for

   2 protection under Federal Rule of Civil Procedure 26(c), and as specified above in

   3 the Good Cause Statement.

   4            2.4 Counsel: Outside Counsel of Record and House Counsel (as well as

   5 their support staff).

   6            2.5 Designating Party: a Party or Non-Party that designates information

   7 or items that it produces in disclosures or in responses to discovery as

   8 “CONFIDENTIAL.”

   9            2.6 Disclosure or Discovery Material: all items or information, regardless

  10 of the medium or manner in which it is generated, stored, or maintained (including,

  11 among other things, testimony, transcripts, and tangible things), that are produced

  12 or generated in disclosures or responses to discovery in this matter.

  13            2.7 Expert: a person with specialized knowledge or experience in a matter

  14 pertinent to the litigation who has been retained by a Party or its counsel to serve

  15 as an expert witness or as a consultant in this Action.

  16            2.8 House Counsel: attorneys who are employees of a party to this Action.

  17 House Counsel does not include Outside Counsel of Record or any other outside

  18 counsel.

  19            2.9 Non-Party: any natural person, partnership, corporation, association,

  20 or other legal entity not named as a Party to this action.

  21            2.10 Outside Counsel of Record: attorneys who are not employees of a

  22                                            4
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   1 party to this Action but are retained to represent or advise a party to this Action

   2 and have appeared in this Action on behalf of that party or are affiliated with a law

   3 firm which has appeared on behalf of that party, and includes support staff.

   4             2.11 Party: any party to this Action, including all of its officers, directors,

   5 employees, consultants, retained experts, and Outside Counsel of Record (and their

   6 support staffs).

   7             2.12 Producing Party: a Party or Non-Party that produces Disclosure or

   8 Discovery Material in this Action.

   9             2.13 Professional Vendors: persons or entities that provide litigation

  10 support services (e.g., photocopying, videotaping, translating, preparing exhibits

  11 or demonstrations, and organizing, storing, or retrieving data in any form or

  12 medium) and their employees and subcontractors.

  13             2.14 Protected Material: any Disclosure or Discovery Material that is

  14 designated as “CONFIDENTIAL.”

  15             2.15 Receiving Party: a Party that receives Disclosure or Discovery

  16 Material from a Producing Party.

  17        3.       SCOPE

  18        The protections conferred by this Stipulation and Order cover not only

  19 Protected Material (as defined above), but also (1) any information copied or

  20 extracted from Protected Material; (2) all copies, excerpts, summaries, or

  21 compilations of Protected Material; and (3) any testimony, conversations, or

  22                                              5
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   1 presentations by Parties or their Counsel that might reveal Protected Material.

   2        Any use of Protected Material at trial shall be governed by the orders of the

   3 trial judge. This Order does not govern the use of Protected Material at trial.

   4        4.       DURATION

   5        Even after final disposition of this litigation, the confidentiality obligations

   6 imposed by this Order shall remain in effect until a Designating Party agrees

   7 otherwise in writing or a court order otherwise directs. Final disposition shall be

   8 deemed to be the later of (1) dismissal of all claims and defenses in this Action,

   9 with or without prejudice; and (2) final judgment herein after the completion and

  10 exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,

  11 including the time limits for filing any motions or applications for extension of

  12 time pursuant to applicable law.

  13        5.       DESIGNATING PROTECTED MATERIAL

  14             5.1 Exercise of Restraint and Care in Designating Material for Protection.

  15        Each Party or Non-Party that designates information or items for protection

  16 under this Order must take care to limit any such designation to specific material

  17 that qualifies under the appropriate standards. The Designating Party must

  18 designate for protection only those parts of material, documents, items, or oral or

  19 written communications that qualify so that other portions of the material,

  20 documents, items, or communications for which protection is not warranted are not

  21 swept unjustifiably within the ambit of this Order.

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   1        Mass,     indiscriminate,   or   routinized   designations   are   prohibited.

   2 Designations that are shown to be clearly unjustified or that have been made for an

   3 improper purpose (e.g., to unnecessarily encumber the case development process

   4 or to impose unnecessary expenses and burdens on other parties) may expose the

   5 Designating Party to sanctions.

   6        If it comes to a Designating Party’s attention that information or items that

   7 it designated for protection do not qualify for protection, that Designating Party

   8 must promptly notify all other Parties that it is withdrawing the inapplicable

   9 designation.

  10           5.2 Manner and Timing of Designations. Except as otherwise provided in

  11 this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise

  12 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection

  13 under this Order must be clearly so designated before the material is disclosed or

  14 produced.

  15           Designation in conformity with this Order requires:

  16                (a) for information in documentary form (e.g., paper or electronic

  17 documents, but excluding transcripts of depositions or other pretrial or trial

  18 proceedings), that the Producing Party affix at a minimum, the legend

  19 “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that

  20 contains protected material. If only a portion or portions of the material on a page

  21 qualifies for protection, the Producing Party also must clearly identify the protected

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   1 portion(s) (e.g., by making appropriate markings in the margins).

   2           A Party or Non-Party that makes original documents available for

   3 inspection need not designate them for protection until after the inspecting Party

   4 has indicated which documents it would like copied and produced. During the

   5 inspection and before the designation, all of the material made available for

   6 inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has

   7 identified the documents it wants copied and produced, the Producing Party must

   8 determine which documents, or portions thereof, qualify for protection under this

   9 Order. Then, before producing the specified documents, the Producing Party must

  10 affix the “CONFIDENTIAL legend” to each page that contains Protected Material.

  11 If only a portion or portions of the material on a page qualifies for protection, the

  12 Producing Party also must clearly identify the protected portion(s) (e.g., by making

  13 appropriate markings in the margins).

  14               (b) for testimony given in depositions that the Designating Party

  15 identify the Disclosure or Discovery Material on the record, before the close of the

  16 deposition all protected testimony.

  17               (c) for information produced in some form other than documentary

  18 and for any other tangible items, that the Producing Party affix in a prominent place

  19 on the exterior of the container or containers in which the information is stored the

  20 legend “CONFIDENTIAL.” If only a portion or portions of the information

  21 warrants protection, the Producing Party, to the extent practicable, shall identify

  22                                            8
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   1 the protected portion(s).

   2             5.3 Inadvertent Failures to Designate. If timely corrected, an inadvertent

   3 failure to designate qualified information or items does not, standing alone, waive

   4 the Designating Party’s right to secure protection under this Order for such

   5 material. Upon timely correction of a designation, the Receiving Party must make

   6 reasonable efforts to assure that the material is treated in accordance with the

   7 provisions of this Order.

   8        6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS

   9             6.1 Timing of Challenges. Any Party or Non-Party may challenge a

  10 designation of confidentiality at any time that is consistent with the Court’s

  11 Scheduling Order.

  12             6.2 Meet and Confer. The Challenging Party shall initiate the dispute

  13 resolution process under Local Rule 37.1 et seq.

  14             6.3 The burden of persuasion in any such challenge proceeding shall be

  15 on the Designating Party. Frivolous challenges, and those made for an improper

  16 purpose (e.g., to harass or impose unnecessary expenses and burdens on other

  17 parties) may expose the Challenging Party to sanctions. Unless the Designating

  18 Party has waived or withdrawn the confidentiality designation, all parties shall

  19 continue to afford the material in question the level of protection to which it is

  20 entitled under the Producing Party’s designation until the Court rules on the

  21 challenge.

  22                                             9
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    1        7.      ACCESS TO AND USE OF PROTECTED MATERIAL

    2             7.1 Basic Principles. A Receiving Party may use Protected Material that

    3 is disclosed or produced by another Party or by a Non-Party in connection with

    4 this Action only for prosecuting, defending, or attempting to settle this Action.

    5 Such Protected Material may be disclosed only to the categories of persons and

    6 under the conditions described in this Order. When the Action has been terminated,

    7 a Receiving Party must comply with the provisions of section 13 below (FINAL

    8 DISPOSITION).

    9             Protected Material must be stored and maintained by a Receiving Party

   10 at a location and in a secure manner that ensures that access is limited to the persons

   11 authorized under this Order.

   12             7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless

   13 otherwise ordered by the court or permitted in writing by the Designating Party, a

   14 Receiving      Party   may    disclose   any    information    or   item   designated

   15 “CONFIDENTIAL” only to:

   16                (a) the Receiving Party’s Outside Counsel of Record in this Action,

   17 as well as employees of said Outside Counsel of Record to whom it is reasonably

   18 necessary to disclose the information for this Action;

   19                (b) the officers, directors, and employees (including House Counsel)

   20 of the Receiving Party to whom disclosure is reasonably necessary for this Action;

   21                (c) Experts (as defined in this Order) of the Receiving Party to whom

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    1 disclosure is reasonably necessary for this Action and who have signed the

    2 “Acknowledgment and Agreement to Be Bound” (Exhibit A);

    3              (d) the court and its personnel;

    4              (e) court reporters and their staff;

    5              (f) professional jury or trial consultants, mock jurors, and Professional

    6 Vendors to whom disclosure is reasonably necessary for this Action and who have

    7 signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

    8              (g) the author or recipient of a document containing the information

    9 or a custodian or other person who otherwise possessed or knew the information;

   10              (h) during their depositions, witnesses ,and attorneys for witnesses, in

   11 the Action to whom disclosure is reasonably necessary provided: (1) the deposing

   12 party requests that the witness sign the form attached as Exhibit 1 hereto; and (2)

   13 they will not be permitted to keep any confidential information unless they sign

   14 the “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise

   15 agreed by the Designating Party or ordered by the court. Pages of transcribed

   16 deposition testimony or exhibits to depositions that reveal Protected Material may

   17 be separately bound by the court reporter and may not be disclosed to anyone

   18 except as permitted under this Stipulated Protective Order; and

   19              (i) any mediator or settlement officer, and their supporting personnel,

   20 mutually agreed upon by any of the parties engaged in settlement discussions.

   21        8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED

   22                                           11
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    1 PRODUCED IN OTHER LITIGATION

    2        If a Party is served with a subpoena or a court order issued in other litigation

    3 that compels disclosure of any information or items designated in this Action as

    4 “CONFIDENTIAL,” that Party must:

    5               (a) promptly notify in writing the Designating Party. Such notification

    6 shall include a copy of the subpoena or court order;

    7               (b) promptly notify in writing the party who caused the subpoena or

    8 order to issue in the other litigation that some or all of the material covered by the

    9 subpoena or order is subject to this Protective Order. Such notification shall

   10 include a copy of this Stipulated Protective Order; and

   11               (c) cooperate with respect to all reasonable procedures sought to be

   12 pursued by the Designating Party whose Protected Material may be affected.

   13        If the Designating Party timely seeks a protective order, the Party served

   14 with the subpoena or court order shall not produce any information designated in

   15 this action as “CONFIDENTIAL” before a determination by the court from which

   16 the subpoena or order issued, unless the Party has obtained the Designating Party’s

   17 permission. The Designating Party shall bear the burden and expense of seeking

   18 protection in that court of its confidential material and nothing in these provisions

   19 should be construed as authorizing or encouraging a Receiving Party in this Action

   20 to disobey a lawful directive from another court.

   21        9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE

   22                                            12
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    1 PRODUCED IN THIS LITIGATION

    2                (a) The terms of this Order are applicable to information produced by

    3 a Non-Party in this Action and designated as “CONFIDENTIAL.” Such

    4 information produced by Non-Parties in connection with this litigation is protected

    5 by the remedies and relief provided by this Order. Nothing in these provisions

    6 should be construed as prohibiting a Non-Party from seeking additional

    7 protections.

    8                (b) In the event that a Party is required, by a valid discovery request,

    9 to produce a Non-Party’s confidential information in its possession, and the Party

   10 is subject to an agreement with the Non-Party not to produce the Non-Party’s

   11 confidential information, then the Party shall:

   12                      (1) promptly notify in writing the Requesting Party and the

   13 Non-Party that some or all of the information requested is subject to a

   14 confidentiality agreement with a Non-Party;

   15                      (2) promptly provide the Non-Party with a copy of the

   16 Stipulated Protective Order in this Action, the relevant discovery request(s), and a

   17 reasonably specific description of the information requested; and

   18                      (3) make the information requested available for inspection by

   19 the Non-Party, if requested.

   20                (c) If the Non-Party fails to seek a protective order from this court

   21 within 14 days of receiving the notice and accompanying information, the

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    1 Receiving Party may produce the Non-Party’s confidential information responsive

    2 to the discovery request. If the Non-Party timely seeks a protective order, the

    3 Receiving Party shall not produce any information in its possession or control that

    4 is subject to the confidentiality agreement with the Non-Party before a

    5 determination by the court. Absent a court order to the contrary, the Non-Party

    6 shall bear the burden and expense of seeking protection in this court of its Protected

    7 Material.

    8        10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

    9        If a Receiving Party learns that, by inadvertence or otherwise, it has

   10 disclosed Protected Material to any person or in any circumstance not authorized

   11 under this Stipulated Protective Order, the Receiving Party must immediately (a)

   12 notify in writing the Designating Party of the unauthorized disclosures, (b) use its

   13 best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform

   14 the person or persons to whom unauthorized disclosures were made of all the terms

   15 of this Order, and (d) request such person or persons to execute the

   16 “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit

   17 A.

   18        11.    INADVERTENT           PRODUCTION          OF     PRIVILEGED         OR

   19 OTHERWISE PROTECTED MATERIAL

   20        When a Producing Party gives notice to Receiving Parties that certain

   21 inadvertently produced material is subject to a claim of privilege or other

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    1 protection, the obligations of the Receiving Parties are those set forth in Federal

    2 Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify

    3 whatever procedure may be established in an e-discovery order that provides for

    4 production without prior privilege review. Pursuant to Federal Rule of Evidence

    5 502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure

    6 of a communication or information covered by the attorney-client privilege or

    7 work product protection, the parties may incorporate their agreement in the

    8 stipulated protective order submitted to the court.

    9        12.    MISCELLANEOUS

   10          12.1 Right to Further Relief. Nothing in this Order abridges the right of

   11 any person to seek its modification by the Court in the future.

   12          12.2 Right to Assert Other Objections. By stipulating to the entry of this

   13 Protective Order no Party waives any right it otherwise would have to object to

   14 disclosing or producing any information or item on any ground not addressed in

   15 this Stipulated Protective Order. Similarly, no Party waives any right to object on

   16 any ground to use in evidence of any of the material covered by this Protective

   17 Order.

   18          12.3 Filing Protected Material. A Party that seeks to file under seal any

   19 Protected Material must comply with Civil Local Rule 79-5. Protected Material

   20 may only be filed under seal pursuant to a court order authorizing the sealing of

   21 the specific Protected Material at issue. If a Party's request to file Protected

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    1 Material under seal is denied by the court, then the Receiving Party may file the

    2 information in the public record unless otherwise instructed by the court.

    3        13.    FINAL DISPOSITION

    4        After the final disposition of this Action, as defined in paragraph 4, within

    5 60 days of a written request by the Designating Party, each Receiving Party must

    6 return all Protected Material to the Producing Party or destroy such material. As

    7 used in this subdivision, “all Protected Material” includes all copies, abstracts,

    8 compilations, summaries, and any other format reproducing or capturing any of

    9 the Protected Material. Whether the Protected Material is returned or destroyed,

   10 the Receiving Party must submit a written certification to the Producing Party (and,

   11 if not the same person or entity, to the Designating Party) by the 60 day deadline

   12 that (1) identifies (by category, where appropriate) all the Protected Material that

   13 was returned or destroyed and (2) affirms that the Receiving Party has not retained

   14 any copies, abstracts, compilations, summaries or any other format reproducing or

   15 capturing any of the Protected Material. Notwithstanding this provision, Counsel

   16 are entitled to retain an archival copy of all pleadings, motion papers, trial,

   17 deposition, and hearing transcripts, legal memoranda, correspondence, deposition

   18 and trial exhibits, expert reports, attorney work product, and consultant and expert

   19 work product, even if such materials contain Protected Material. Any such archival

   20 copies that contain or constitute Protected Material remain subject to this

   21 Protective Order as set forth in Section 4 (DURATION).

   22                                           16
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    1        14.   Any violation of this Order may be punished by any and all

    2 appropriate measures including, without limitation, contempt proceedings and/or

    3 monetary sanctions.

    4 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD

    5 DATED: February 2, 2023

    6 /s/ Joel Kozberg___________
      Joel Kozberg
    7 KOZBERG & BODELL LLP
      Attorney for Plaintiff
    8 HAR-CMBS I, LLC

    9
        DATED: February 2, 2023
   10
      /s/ Jamie D. Wells
   11 Jamie D. Wells
      SCALE LLP
   12 Attorney for Defendants
      Natin Paul, individually, and as Trustee
   13 of the Natin Paul Management Trust
      Dated February 29, 2012
   14

   15 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

   16
        DATED: February 7, 2023
   17

   18
      ____________________________________
   19 The Honorable Karen L. Stevenson
      United States Magistrate Judge
   20

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   22                                           17
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    1                                      EXHIBIT A

    2           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

    3 I,   _____________________________            [print   or   type    full   name],   of

    4 _________________ [print or type full address], declare under penalty of perjury

    5 that I have read in its entirety and understand the Stipulated Protective Order that

    6 was issued by the United States District Court for the Central District of California

    7 on                    in the case of HAR-CMBS I, LLC v. Natin Paul and Natin Paul

    8 as Trustee of the Natin Paul Management Trust Dated February 29, 2012, Case

    9 No. 2:22-cv-02104-FLA-KS. I agree to comply with and to be bound by all the

   10 terms of this Stipulated Protective Order and I understand and acknowledge that

   11 failure to so comply could expose me to sanctions and punishment in the nature of

   12 contempt. I solemnly promise that I will not disclose in any manner any

   13 information or item that is subject to this Stipulated Protective Order to any person

   14 or entity except in strict compliance with the provisions of this Order. I further

   15 agree to submit to the jurisdiction of the United States District Court for the Central

   16 District of California for the purpose of enforcing the terms of this Stipulated

   17 Protective Order, even if such enforcement proceedings occur after termination of

   18 this action. I hereby appoint __________________________ [print or type full

   19 name] of _______________________________________ [print or type full

   20 address and telephone number] as my California agent for service of process in

   21

   22                                            18
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    1 connection with this action or any proceedings related to enforcement of this

    2 Stipulated Protective Order.

    3 Date: ______________________________

    4 City and State where sworn and signed: ________________________________

    5

    6 Printed name: ________________________

    7

    8 Signature: ___________________________

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   22                                          19
                                 STIPULATED PROTECTIVE ORDER
